                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF
                                   ILLINOIS EASTERN DIVISION


Ryshawn Lust,                                          )
                                                       )
                Plaintiff,                             )
                                                       )
       vs.                                             ) 20-cv-114
                                                       )
Dr. Khan and Dr. Anderson,                             ) Hon. Judge Rebecca R. Pallmeyer
                                                       ) Mag. Judge Gabriel A. Fuentes
               Defendants.                             )


             PARTIES’ JOINT MOTION TO SUBSTITUTE PARTY PURSUANT TO
                      FEDERAL RULE OF CIVIL PROCEDURE 25(d)

        Plaintiff Ryshawn Lust, and Defendant, Fauzia Khan, by her attorney, KIMBERLY M.

 FOXX, Cook County State’s Attorney, through her assistant, MIGUEL E. LARIOS, for the Parties’

 Joint Motion to Substitute Party as follows:

        1.       The parties have reached a settlement agreement in this matter.

        2.       Defendant Khan is an employee of Cook County.

        3.       Cook County is the indemnitor for Defendant Khan in this matter.

        4.       Pursuant to Federal Rule of Civil Procedure 25(d), the parties seek to substitute

 Cook County’s appearance for the appearance of Defendant Fauzia Khan in this matter for purposes

 of indemnification and settlement.

        5.       Once this order is granted, the parties will sign the appropriate settlement

 documentation and enter a stipulation of dismissal.

        WHEREFORE, the parties pray that this Court enters an Order: (1) substituting Cook

 County for Fauzia Khan; (2) dismissing Fauzia Khan with prejudice; and (3) for any other relief

 this Court deems just and appropriate.
Dated: October 6, 2021         Respectfully submitted,

                               KIMBERLY M. FOXX
                               State’s Attorney of Cook County
                         By:   /s/Miguel E. Larios
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